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 8                           UNITED STATES DISTRICT COURT            ~      '^
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 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                               June 2017 Grand Jury

11   UNITED STATES OF AMERICA,                CR No. ~~
                                                              IS         O O O5O
12             Plaintiff,                     I N D I C T M E N T

13             v.                             [50 U.S.C. § 1705(a),(c); 15
                                              C.F.R. §§ 742.4, 744.16, 758.1,
14   YI-CHI SHIH,                             764.2: Conspiracy, Attempt, and
       aka "Yichi Shih,"                      Violation of the International
15     aka "Yugi Shi,"                        Emergency Economic Powers Act; 18
     ISHIANG SHIH,                            U.S.C. § 1341: Mail Fraud; 18
16     aka "I-Shiang Shih," and               U.S.C. ~ 1343: Wire Fraud; 18
     KIET ANH MAI,                            U.S.C. ~ 371: Conspiracy; 18
17                                            U.S.C. § 1030(a)(2)(C),
               Defendants.                    (c)(2)(B)(i)- (iii) Unauthorized
18                                            Access to a Protected Computer to
                                              Obtain Information; 18 U.S.C.
19                                            ~ 1956(a)(2)(A) International
                                              Promotional Money Laundering; 18
20                                            U.S.C. ~ 2: Aiding and Abetting
                                              and Causing an Act to be Done; 18
21                                            U.S.C. § 981(a)(1)(C), (a)(2) and
                                              28 U.S.C. ~ 2461: Forfeiture]
22

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24        The Grand Jury charges:

25                             INTRODUCTORY ALLEGATIONS

26        The following was true at all times relevant to this Indictment:

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 1   The International Emergency Economic Powers Act, Export

 2   Administration Regulations, and Foreign Trade Regulations

 3        1.    Pursuant to the International Emergency Economic Powers Act

 4   ("IEEPA"), Title 50, United States Code, Sections 1701-1707, the

 5   President was granted the authority to declare a national emergency

 6   to address unusual and extraordinary threats to the national

 7   security, foreign policy, and economy of the United States.            The

 8   President declared a national emergency through executive orders that

 9   had the full force and effect of law.

10        2.    Pursuant to IEEPA, on August 17, 2001, the President issued

11   Executive Order 13,222, which declared a national emergency with

12   respect to the unusual and extraordinary threat to the national

13   security, foreign policy and economy of the United States in light of

14   the expiration of the Export Administration Act, 50 App. U.S.C.

15   §~ 2401-2420, which lapsed on August 17, 2001.          66 Fed. Reg. 44,025

16   (Aug. 22, 2001).     While in effect, the EAA regulated the export of

17   goods, technology, and software from the United States.           Pursuant to

18   the provisions of the EAA, the Department of Commerce ("DOC")'s

19   Bureau of Industry and Security ("BIS") promulgated the Export

20   Administration Regulations ("EAR"), 15 C.F.R. §~ 730-774, which

21   contained restrictions on the export of goods outside of the United

22   States, consistent with the policies and provisions of the EAA.                See

23   15 C.F.R. ~ 730.2.     In Executive Order 13,222, pursuant to IEEPA, the

24   President ordered that the EAR's provisions remained in full force

25   and effect despite the expiration of the EAA.         Presidents have issued ~,

26   annual Executive Notices extending the national emergency declared in

27   Executive Order 13,222 from the time period covered by that Executive

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 1   Order through the present.      See, e.g., 82 Fed. Reg. 39,005 (Aug. 18,

 2   2017).

 3        3.      Pursuant to its authority derived from IEEPA, the DOC

 4   reviewed and controlled the export of certain goods and technologies

 5   from the United States to foreign countries.         In particular, the DOC

 6   had placed restrictions on the export of goods and technologies that

 7   it has determined could make a significant contribution to the

 8   military potential or nuclear proliferation of other nations or that

 9   could be detrimental to the foreign policy or national security of

10   the United States.

11        4.      In addition, the EAR contained a list of names of certain

12   foreign persons -- including businesses, research institutions,

13   government and private organizations, individuals, and other types of

14   legal persons -- that were subject to specific license requirements

15   for the export, re-export and/or in-country transfer of specified

16   items.     These persons comprised the DOC's "Entity List," which was

17   found at Title 15, Code of Federal Regulations, Part 744, Supplement

18   No. 4.     Grounds for inclusion on the Entity List included activities

19   sanctioned by the U.S. State Department and activities contrary to

20   U.S. national security and/or foreign policy interests.           The persons

21   on the Entity List were subject to export licensing requirements and

22   policies supplemental to those found elsewhere in the EAR.

23        5.     Through the EAR, the Department of Commerce ("DOC") imposed

24   license or other requirements before an item (that is, commodities,

25   software, and technology) subject to the EAR could be lawfully

26   exported from the United States or lawfully re-exported from another

27   country.    Items that "are subject to the EAR" included all items in

28   the United States and all U.S.-origin items wherever located,

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 1     irrespective of whether a license was required for the export of that
 2 I                                                            Activities of U.S.
       item (with certain exceptions described below).

 3     or foreign persons prohibited by any order issued under the EAR were

 4     also "subject to the EAR."      Items not subject to the EAR were items

 5     exclusively controlled for export by other federal agencies and other

 6     specified items not relevant here.

 7             6.   The DOC, through the U.S. Census Bureau ("Census") required

 8     the filing of electronic export information ("EEI") through the

 9     Automated Export System ("AES") pursuant to Title 13, United States

10     Code, Section 305; the EAR; and the Foreign Trade Regulations

11     ("FTR"), Title 15, Code of Federal Regulations, Part 30.            The purpose

12     of these requirements was to strengthen the United States

13     government's ability to prevent the export of certain items to

14     unauthorized destinations and end-users because the AES aids in

15     targeting, identifying, and when necessary confiscating suspicious or

16     illegal shipments prior to exportation.         15 C.F.R. § 30.1(b)       With

17     exceptions not relevant to the exports at issue in this Indictment,

18     EEI was required to be filed for, among other things, the export of

19     commodities valued over $2,500 per the Harmonized Tariff Schedule of

20     the United States of America ("HTSUSA") commodity classification

21     code.    EEI was required to contain, among other things:         the names

22     and addresses of the parties to the transaction; and the description,

23     quantity, and value of the items exported.         15 C.F. R. ~ 30.6(a).

24     Defendants and Related Entities

25             7.   Defendant YI-CHI SHIH, also known as ("aka") "Yichi Shih,"

26     aka "Yugi Shi" ("defendant SHIH"), a dual citizen of Taiwan and the

27     United States, who resided in the Central District of California and

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 1   in foreign locations including China, was an electrical engineer and

 2   former employee of United States defense contractors.

 3        8.    Defendant ISHIANG SHIH, aka "I-Shiang Shih" ("defendant

 4   ISHIANG"), a native of Taiwan and a citizen of Canada, was an

 5   electrical engineer and a professor at Canadian University A.

 6   Defendants SHIH and ISHIANG were brothers.

 7        9.    Defendant KIET ANH MAI ("defendant MAI"), a United States

 8   citizen, who resided in the Central District of California, was an

 9   electrical engineer and former employee of a United States defense

10   contractor.

11        10.   Chengdu Gastone Technology Co., Ltd., aka Chengdu Jiashi

12   Technology Company, Ltd. ("CGTC"), was a Chinese entity that

13   established, in Chengdu, China, a semiconductor fabrication plant

14   (also called a foundry or a "fab") in which Monolithic Microwave

15   Integrated Circuits ("MMICs"), a type of integrated circuit ("IC")

16   device, would be manufactured.       From approximately 2011 through at

17   least 2016, defendant SHIH was compensated for his work with CGTC;

18   his positions at CGTC included President and Technical Consultant.

19   Defendant ISHIANG's positions at CGTC included Technical Director.

20   On August 1, 2014, BIS placed CGTC on its Entity List due to its

21   involvement in activities contrary to the national security and

22   foreign policy interest of the United States -- specifically, that it

23   had been involved in the illicit procurement of commodities and

24   technologies for unauthorized military end use in China.            CGTC has

25   remained on the Entity List continuously since August 1, 2014.             As a

26   result of its placement on the Entity List, a license from BIS was

27   required to export, reexport, or transfer (in-country) any item

28   (that is, commodities, software, and technology) subject to the EAR

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 1   to CGTC, and there was a presumption of denial of a license.            See 79

 2   FR 44681, 44684, 8/1/2014; 15 CFR ~ 744.11.

 3        11.    Pullman Lane Productions, LLC ("PULLMAN LANE") was a

 4   California limited liability company.        Defendant SHIH held a 90%

 5   interest in PULLMAN LANE and was its Manager.          PULLMAN LANE had two

 6   U.S. bank accounts; defendant SHIN was an authorized signer on both

 7   accounts.    From 2010 to the present, both before and after CGTC was

 8   placed on Entity List, the PULLMAN LANE U.S. bank accounts received

 9   substantial international wire transfers (up to $1,000,000) from

10   foreign companies, including one located in China that has also been

11   on the Entity List since August 2014.

12        12.    JYS Technologies, Inc. ("JYS TECH") was a Canadian

13   corporation, located in Brossard, Quebec, Canada.          Defendant ISHIANG

14   was its Vice President and one of its Directors.          JYS TECH had a

15   Canadian bank account that was controlled by defendant ISHIANG.                Both

16   before and after CGTC was placed on the Entity List, the JYS TECH

17   bank account wire-transferred substantial funds to the PULLMAN LANE

18   and MICROEX bank accounts.

19        13.    Microex Engineering ("MICROEX") was a dba of

20   L2Kontemporary, Inc., a California corporation.          Defendant MAI was

21   the Chief Executive Officer of MICROEX and L2Kontemporary, Inc.

22   MICROEX had a U.S. bank account; defendant MAI was an authorized

23   signer on the account.     At no time was defendant SHIH an employee or

24   agent or otherwise affiliated with MICROEX.         Both before and after

25   CGTC was placed on the Entity List, the MICROEX bank account received

26   substantial payments from bank accounts meld by PULLMAN LANE and JYS

27   Technologies, Inc.

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 1        14.   U.S. Company B was a U.S. company located in the United

 2   States in a state other than California that offered foundry services

 3   for the custom design and manufacture of MMICs, including GaN

 4   (Gallium Nitrade) MMICs.

 5        15.   U.S. University A is located within the Central District of

 6   California.

 7        The Grand Jury incorporates by reference and re-alleges these

 8   Introductory Allegations into each and every count of this Indictment

 9   as though fully alleged therein.

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 1                                      COUNT ONE

 2                            [50 U.S.C. § 1705(a), (c);

 3                   15 C.F.R. ~~ 742.4, 744.16, 758.1, 764.2]

 4   A.   OBJECT OF THE CONSPIRACY

 5        Beginning on a date unknown, but no later than in or about

 6   January 2010, and continuing to a date unknown, but no earlier than

 7   on or about January 2016, in Los Angeles County, within the Central

 8   District of California, and elsewhere, defendant YI-CHI SHIH, also

 9   known as ("aka") "Yichi Shih," aka "Yugi Shi" ("defendant SHIH"), and

10   defendant ISHIANG SHIH, aka "I-Shiang Shih" ("defendant ISHIANG") and

11   defendant KIST ANH MAI ("defendant MAI"), and others known and

12   unknown to the Grand Jury, knowingly and willfully conspired and

13   agreed with each other to export items from the United States to the

14   People's Republic of China ("PRC") and to Chengdu Gastone Technology

15   Co., Ltd., aka Chengdu Jiashi Technology Company, Ltd. ("CGTC"),

16   without having first obtained the required licenses from the United

17   States Department of Commerce and without filing Electronic Export

18   Information ("EEI") through the Automated Export System ("AES").

19   B.   MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

20        ACCOMPLISHED

21        The object of the conspiracy was to be accomplished in the

22   manner and by the means described below, among others:

23        1.    Defendants SHIH and ISHIANG agreed to develop a

24   semiconductor foundry in the PRC in which MMICs having military

25   applications would be manufactured.

26        2.    Defendant SHIH agreed with defendant MAI to obtain MMICs

27   from U.S. Company B for export to the PRC.

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 1        3.      Defendant MAI would make arrangements with U.S. Company B

 2   to obtain U.S. Company B's foundry services and MMICs.

 3        4.      To obtain access to U.S. Company B's foundry services and

 4   to obtain the MMICs, defendant SHIH would cause defendant MAI to

 5   make, and defendant MAI would make, false statements to U.S. Company

 6   B about the ultimate end user and country destination of the MMICs.

 7        5.     Defendant MAI would provide defendant SHIH with access to

 8   U.S. Company B's foundry services without U.S. Company B's knowledge

 9   or authorization.

10        6.      Using U.S. Company B's foundry services, defendant SHIH

11   would design the integrated circuits for the MMICs.

12        7.     Defendant MAI would cause MICROEX to pay U.S. Company B for

13   the foundry services and MMICs.

14        8.     Defendants SHIH and ISHIANG would cause PULLMAN LANE and

15   JYS TECH to pay defendant MAI for the payments MICROEX made to U.S.

16   Company B.

17        9.     Defendant MAI would receive the shipments of the MMICs from

18   U.S. Company B and provide them to defendant SHIH directly or through

19   Person 6.

20        10.    Defendant SHIH would cause the MMICs to be shipped from the

21   Central District of California to an address in Hong Kong intending

22   that the MMICs be transported to the PRC.

23        11.    Defendant SHIH would also cause the MMICs to be provided to

24   U.S. University A for testing for the purpose of providing technology

25   to CGTC.

26        12.    Defendant SHIH would also cause the MMICs to be shipped

27   from the Central District of California to defendant ISHIANG in

28   Canada for the purpose of providing technology to CGTC.

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 1         13.    To obtain the MMICs and export them from the United States

 2   to the PRC, defendant SHIH would make and cause to be made false

 3   statements to shipping companies about the value and description of

 4   the MMICs.

 5         14.    At no time did defendants SHIH, ISHIANG, or MAI, or anyone

 6   associated with them, either individually or through MICROEX, PULLMAN

 7   LANE, CGTC, or JYS TECH, apply for or obtain an export license from

 8   the United States Department of Commerce authorizing the export of

 9   the MMICs to the PRC or authorizing the export of technology relating

10   to the MMICs to CGTC.

11         15.    At no time did defendants SHIH, ISHIANG, or MAI or anyone

12   associated with them, either individually or through MICROEX, PULLMAN

13   LANE, CGTC, or JYS TECH, file EEI through AES for the shipment of the

14   MMICs.

15         16.    As referenced in this Indictment, defendants SHIH, ISHIANG,

16   and MAI often used electronic mail ("e-mail") to communicate, in the

17   English and Chinese languages, with each other and with other

18   persons.     All direct quotations from e-mails referenced herein are as

19   they appeared in the e-mails in the English language, including any

20   misspellings, and are related in pertinent part.

21   C.    OVERT ACTS

22         In furtherance of the conspiracy and to accomplish the object of

23   the conspiracy, defendants SHIH, ISHIANG, and MAI, and others known

24   and unknown to the Grand Jury, committed the following overt acts,

25   among others, within the Central District of California, and

26   elsewhere.

27         Overt Act #1:    On or about January 27, 2010, defendant ISHIANG

28   sent an e-mail to defendant SHIH that contained two attachments:

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 1   (1) the DOC Entity List, dated 1/13/10, and (2) a document titled

 2   "Q&As on the Bureau of Industry and Security's China Policy Rule,"

 3   that discussed, among other topics, export-controlled technologies,

 4   questions on "military end-use," and descriptions of major weapons

 5   systems and policy review for national security export-controlled

 6   items.

 7         Overt Act #2:    On or about February 23, 2010, defendant SHIH

 8   sent an e-mail to Person 3 attached to which were documents

 9   describing equipment used in the manufacture of MMICs.

10         Overt Act #3:    On or about June 18, 2010, defendant SHIH signed

11   a check transferring from one PULLMAN LANE bank account to another,

12   $1,000,000 received four days earlier from a Bank of China account

13   held by Qing'an International Trading Co., Ltd., No. 27, Xiaoyun Rd,

14   Beijing, China.

15         Overt Act #4:    On or about July 22, 2010, defendant ISHIANG

16   caused $239,990 to be wire-transferred from a JYS TECH bank account

17   in Canada to a PULLMAN LANE bank account.

18         Overt Act #5:    On or about April 7, 2011, defendant ISHIANG

19   caused $199,990 to be wire-transferred from a JYS TECH bank account

20   in Canada to a PULLMAN LANE bank account.

21         Overt Act #6:    On or about November 10, 2011, defendant ISHIANG

22   caused $199,990 to be wire-transferred from a JYS TECH bank account

23   in Canada to a PULLMAN LANE bank account.

24         Overt Act #7:    On or about March 5, 2012, defendant SHIH caused

25   a PULLMAN LANE bank account to wire-transfer $500,000 to a JYS TECH

26   bank account in Canada.

27         Overt Act #8:    On or about April 6, 2012, defendant SHIH sent an

28   e-mail to a family member stating, "My cell phone in China is [number

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 1   deleted] and Ishiang's is Lnumber deleted].          Also attached is a copy

 2   of our business paln [sic] for the project                We will be in

 3   Chengdu until later part of April.          Please ask your friend to contact

 4   us."    Attached to the e-mail was a power point presentation; in the

 5   corner of every page was: "Ishiang Shih and Yi-Chi Shih."            The

 6   presentation was a business plan for the development of a

 7   semiconductor foundry in the PRC to manufacture MMICs.            U.S. Company

 8   B and other U.S. companies were referenced in the presentation on a

 9   page titled "GaN Device Technology Comparison."

10          Overt Act #9:    On or about May 11, 2012, defendant SHIH caused a

11   PULLMAN LANE bank account to wire-transfer $260,000 to a JYS TECH

12   bank account in Canada.

13          Overt Act #10:    On or about May 30, 2012, defendant ISHIANG sent

14   an e-mail to defendant SHIN, attaching a presentation titled

15   "Development of GaN HEMT for MMICs" that provided engineering data on

16   the performance of GaN devices and listed data on GaN devices from

17   U.S. Company B.

18          Overt Act #11:    On or about June 30, 2012, defendant ISHIANG

19   sent an e-mail to defendant SHIN, attaching a presentation dated 2011

20   titled "GaN Foundry" that provided engineering data on the

21   performance of GaN devices from U.S. companies and included a list of

22   U.S. companies with a GaN foundry, including U.S. Company B.             The

23   header on each page of the presentation was          "CHENGDU GASTONE

24   TECHNOLOGY CO., LTD" (written in English and Chinese).

25          Overt Act #12:   On or about August 21, 2012, defendant ISHIANG

26   sent an e-mail to defendant SHIN attaching a presentation titled "A

27   brief summary on GaN activities."        The presentation included a

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 1   reference to the SiC (Silicon Carbide) and GaN MMIC foundry services

 2   of U.S. Company B.

 3         Overt Act #13:     On or about February 15, 2013, defendant MAI,

 4   using a MICROEX e-mail address, sent an e-mail to U.S. Company B,

 5   with the subject "Foundry service," stating "I'm interested in the

 6   Full-Wafer Service for GaN, 0.25um process.          Please send documents

 7   to: Kiet Mai, President, MicroEx Engineering."

 8         Overt Act #14:     On or about February 15, 2013, defendant MAI

 9   sent an e-mail to defendant SHIH, stating "Please answer the attached

10   for me, I don't want to make any mistakes."          Attached to the e-mail

11   was a "[U.S. Company B] Export Compliance Questionnaire" that

12   defendant MAI had received from U.S. Company B in response to the e-

13   mail described in Overt Act #13.

14         Overt Act #15:    On or about February 15, 2013, defendant SHIH

15   sent an e-mail to defendant MAI, attaching the completed U.S. Company

16   B Export Compliance Questionnaire.          The space provided for a "no"

17   response was checked in response to questions as to whether the

18   product would be subject to "U.S. export control regulations,

19   specifically EAR and ITAR."       (The International Traffic in Arms

20   Regulations ("ITAR"), are the implementing regulations for the Arms

21   Export Control Act ("AECA"), and regulate the export of United States

22   defense articles and services.)

23         Overt Act #16:    On or about February 18, 2013, defendant MAI,

24   using a MICROEX e-mail address, e-mailed U.S. Company B and returned

25   the completed U.S Company B Export Questionnaire.           In the U.S Company

26   B Export Questionnaire, the frequency of the MMICs to be designed and

27   manufactured was listed as "up to 18 GHz."

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 1         Overt Act #17:     On or about February 18, 2013, defendant MAI,

 2   using a MICROEX e-mail address, sent an e-mail to U.S. Company B

 3   answering "yes," in response to the question, "Will your company be

 4   doing the design, testing and use of the MMIC's?"

 5         Overt Act #18:     On or about March 19, 2013, defendant MAI sent

 6   an e-mail to defendant SHIH advising him that defendant MAI would

 7   forward to defendant SHIH the information he had received from U.S.

 8   Company B and stating further, "The only issues would be end user and

 9   itar and you already are aware of those."

10         Overt Act #19:    On or about March 19, 2013, defendant MAI sent

11   an e-mail to defendant SHIH, stating "Here's design access," that

12   provided to defendant SHIH the Internet address for the design portal

13   on U.S. Company B's computer, as well as the user name and password

14   necessary to access that design portal.

15         Overt Act #20:    On or about August 29, 2013, defendant MAI sent

16   an e-mail to defendant SHIH informing defendant SHIH that U.S.

17   Company B wanted to know when they would place a purchase order, and

18   that defendant MAI told U.S. Company B, "we're finalizing the layout

19   and [would] get back to them early next week."

20         Overt Act #21:    On or about August 29, 2013, defendant SHIH sent

21   an e-mail to defendant MAI, responding to the e-mail in Overt Act

22   #20, writing, "Good answer!       We do plan to release the PO [purchase

23   order] next week."

24         Overt Act #22:    On or about September 3, 2013, defendant MAI e-

25   mailed U.S. Company B, attaching a purchase order from MICROEX that

26   listed payment milestones totaling $130,000 for "Delivery of 4 good

27   wafers [MMICs] ."

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 1         Overt Act #23:     On or about September 6, 2013, defendant MAI

 2   caused a MICROEX invoice to be issued that billed PULLMAN LANE for

 3   milestone payment 1 -- $28,750 -- for the "NPN, Wideband, High Power

 4   GaN MMIC Design, Analysis, Layout & Test Support" provided by U.S.

 5   Company B.

 6         Overt Act #24:     On or about September 9, 2013, defendant SHIH

 7   caused a check to be issued, written on a PULLMAN LANE bank account,

 8   in the amount of $28,750, made payable to MICROEX.

 9         Overt Act #25:     On or about September 11, 2013, defendant MAI

10   caused a check to be issued, written on a MICROEX bank account, in

11   the amount of $25,000, made payable to U.S. Company B.

12         Overt Act #26:     On or about November 22, 2013, defendant MAI

13   caused a MICROEX invoice to be issued that billed PULLMAN LANE for a

14   ~ milestone payment -- $40,250 -- for the "NPN, Wideband, High Power

15   GaN MMIC Design, Analysis, Layout & Test Support" provided by U.S.

16   Company B.

17         Overt Act #27:     On or about November 22, 2013, defendant SHIH

18   caused a check to be issued, written on a PULLMAN LANE bank account,

19   in the amount of $41,228, made payable to MICROEX.

20         Overt Act #28:    On or about December 2, 2013, defendant MAI

21   caused a check to be issued, written on a MICROEX bank account, in

22   the amount of $35,000, made payable to U.S. Company B.

23         Overt Act #29:    On or about December 6, 2013, defendant MAI

24   caused a MICROEX invoice to be issued that billed PULLMAN LANE for

25   milestone payment 3 -- $69,000 -- for the "NPN, Wideband, High Power

26   GaN MMIC Design, Analysis, Layout & Test Support" provided by U.S.

27   Company B.

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 1         Overt Act #30:     On or about December 11, 2013, defendant SHIH

 2   caused a check to be issued, written on a PULLMAN LANE bank account,

 3   in the amount of $69,000, made payable to MICROEX.

 4         Overt Act #31:     On or about December 16, 2013, defendant MAI

 5   sent an e-mail to defendant SHIN informing defendant SHIH that U.S.

 6   Company B wanted the last invoice paid before shipping the MMICs, and

 7   that defendant MAI would send defendant SHIN the final invoice as

 8   soon as defendant MAI received U.S. Company B's invoice.

 9         Overt Act #32:    On or about December 17, 2013, defendant MAI

10   caused a MICROEX invoice to be issued that billed PULLMAN LANE for

11   milestone payment 4 -- $11,500 -- for the "NPN, Wideband, High Power

12   GaN MMIC Design, Analysis, Layout & Test Support" provided by U.S.

13   Company B.

14         Overt Act #33:    On or about December 18, 2013, defendant MAI

15   sent an e-mail to defendant SHIH informing defendant SHIH, "I

16   remitted payment for the final invoice today, [U.S. Company B] should

17   receive it this week.      I'll check with them by the end of this week

18   for the expected delivery of the wafers."

19         Overt Act #34:    On or about December 24, 2013, defendant MAI

20   caused $70,000 to be wire-transferred to U.S. Company B.

21         Overt Act #35:    On or about December 27, 2013, defendant MAI

22   sent an e-mail to defendant SHIH, writing "I have the wafers."

23         Overt Act #36:    On or about December 27, 2013, defendant SHIH

24   sent an e-mail to defendant MAI, responding to the e-mail described

25   above in Overt Act #35, writing, "Super.         I'm out of town.     I'll pick

26   it up this weekend.     Thanks."

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 1         Overt Act #37:     On or about December 29, 2013, defendant SHIH

 2   caused a check to be issued, written on a PULLMAN LANE bank account,

 3   in the amount of $30,000, made payable to Person 3.

 4         Overt Act #38:     On or about December 30, 2013, defendant SHIN

 5   caused a package containing the U.S. Company B MMICs to be shipped

 6   from Los Angeles, California, to Person 4 in Northern California,

 7   causing the package contents to be valued falsely as

 8   $100.00.
          Overt Act #39:      On or about December 31, 2013, defendant SHIH
 9
     sent an e-mail to Persons 3 and 5, with the subject, "RE: Package,"
10
     writing, "A package was sent from LA should arrive today by FedEx
11
     tracking No.: 804546557495.       Please follow up."
12
           Overt Act #40:     On or about January 2, 2014, defendant SHIH
13
     caused the package containing the U.S. Company B MMICs to be shipped
14
     from Northern California to a freight forwarding service in Hong
15
     Kong, and caused the content of the package to be described falsely
16
     as "Glass Sample," and the package contents to be valued falsely as
17
     "$100.00."
18
           Overt Act #41:    On or about January 2, 2014, defendant SHIH
19
     caused a check to be issued, written on a PULLMAN LANE bank account,
20
     in the amount of $11,500, made payable to MICROEX.
21
           Overt Act #42:    On or about January 4, 2014, defendant SHIH sent
22
     an e-mail to Person 3, with the subject "Re: Package," writing,
23
     "Please send me the tracking no.        To follow up."
24
           Overt Act #43:    On an unknown date, defendant SHIH provided one
25
     of the U.S. Company B MMICs to a researcher at U.S. University A for
26
     testing.
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 1         Overt Act #44:     On or about March 19, 2014, defendant SHIH sent

 2   an e-mail to defendant MAI, writing, "[T]he GaN MMIC's are still

 3   under evaluation.      Some of them have good performance.        We are

 4   looking [sic] potential customers for the Ku-band chips for satcom

 5   applications.     Please ask [U.S. Company B] about the pricing for

 6   production wafers of the order of 30 to 60 wafers."

 7         Overt Act #45:     On or about March 19, 2014, defendant MAI sent

 8   an e-mail to defendant SHIH, writing, "In regard to [U.S. Company B],

 9   have you checked the ITAR on these parts due to high power?"

10         Overt Act #46:     On or about June 16, 2014, defendant MAI, using

11   a MICROEX e-mail address, sent an e-mail to U.S. Company B, writing,

12   "We'd like to have another wafer run                 Please quote with new

13   payment terms for a run same as last run."

14         Overt Act #47:     On or about December 1, 2014, defendant MAI,

15   using a MICROEX e-mail address, sent to U.S. Company B a purchase

16   order from MICROEX, for a payment schedule by milestones of $130,000

17   I total.

18         Overt Act #48:     On or about December 1, 2014, defendant MAI,

19   using a MICROEX e-mail address, answered an e-mail from U.S. Company

20   B, asking "Will you be exporting any of the devices or wafers?"             The

21   answer provided by defendant MAI was "No not for export, we're doing

22   development."

23         Overt Act #49:     On or about December 1, 2014, defendant MAI,

24   using a MICROEX e-mail address, sent an e-mail to U.S. Company B,

25   advising that MICROEX would go with the full payment option, and

26   attaching a revised purchase order from MICROEX, for a full payment

27   of $117,000.

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     Case 2:18-cr-00050-JAK Document 50 Filed 02/01/18 Page 19 of 40 Page ID #:352




 1         Overt Act #50:     On or about December 1, 2014, defendant MAI

 2   caused a MICROEX invoice to be issued that billed JYS TECH for

 3   milestone payment 1 -- $120,000 -- for the "NPN, Wideband, High Power

 4   GaN MMIC Design, Analysis, Layout & Test Support" provided by U.S.

 5   Company B.

 6         Overt Act #51:     On or about December 2, 2014, defendant SHIH

 7   sent an e-mail to defendant ISHIANG, writing, "Please prepare to wire

 8   the payment of 117K to MicroEx, whose bank account is attached.                 .

 9   The funding for this project is being arranged to JYS, but may take

10   some time.    I'l1 explain to you on the arrangement later."

11         Overt Act #52:    On or about December 2, 2014, defendant ISHIANG

12   sent an e-mail to defendant SHIN, writing, "I will arrange the

13   payment soon."

14         Overt Act #53:    On or about December 10, 2014, defendant MAI,

15   using a MICROEX e-mail address, answered an e-mail from U.S. Company

16   B, asking "Are any of the design [s] you are putting on this next mask

17   subject to US ITAR export regulations?"         The answer provided by

18   defendant MAI was "These are for research study and should not [sic]

19   subject to ITAR."

20         Overt Act #54:    On or about December 12, 2014, defendant ISHIANG

21   caused $120,000 to be wire-transferred from a JYS TECH bank account

22   to a MICROEX bank account.

23         Overt Act #55:    On or about December 17, 2014, defendant MAI

24   caused $117,000 to be wire-transferred to U.S. Company B.

25         Overt Act #56:    On or about December 31, 2014, defendant SHIH

26   sent an e-mail to the Vice-President of CGTC discussing an attached

27   revised proposed business plan, and stating, "[nie should focus on

28   these tasks for now while we do the detailed planning for

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     Case 2:18-cr-00050-JAK Document 50 Filed 02/01/18 Page 20 of 40 Page ID #:353




 1   establishing GaStone Technology to be a strong foundry like WIN or

 2   [initials of a U.S. company]."

 3         Overt Act #57:     On or about January 12, 2015, defendant SHIH

 4   received from a researcher at U.S. University A a copy of a 30-page

 5   report summarizing testing conducted on a U.S. Company B GaN MMIC,

 6   that defendant SHIH caused to be done.

 7         Overt Act #58:     On or about March 17, 2015, defendant SHIH sent

 8   an e-mail to Person 6, with the subject "Package," writing, "I need

 9   your help to pick up a package from [defendant MAI] this coming

10   Friday or Saturday, as soon as it arrives.               After that, we need

11   to take one out of four pieces and pack it separately for delivery. .

12   .    We'll talk over FaceTime to go through the details when you have

13   the package ready."

14         Overt Act #59:    On or about March 18, 2015, defendant SHIH sent

15   an e-mail to defendant MAI, telling him to call Person 6 to pick up

16   the package for defendant SHIN when it arrived.

17         Overt Act #60:    On or about March 23, 2015, defendant MAI sent

18   an e-mail to defendant SHIH, writing "I left [Person 6] voice and

19   text messages for picking up the wafers, which arrived today."

20         Overt Act #61:    On or about March 23, 2015, defendant MAI caused

21   a MICROEX invoice to be issued that billed JYS TECH for the final

22   payment -- $14,550 -- for the "NPN, Wideband, High Power GaN MMIC

23   Design, Analysis, Layout & Test Support" provided by U.S. Company B.

24         Overt Act #62:    On or about March 25, 2015, defendant MAI sent

25   an e-mail to defendant SHIH, writing, "[Person 6] picked-up the

26   wafers today, wafers' data/packing slip attached."           Attached to the

27   e-mail was a U.S. Company B packing slip that listed 4 diced wafers:

28   BU1823-11, HG0752-36, JE0628-20 and JH0727-45, valued at $9,000.

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 1         Overt Act #63:     On or about April 6, 2015, defendant SHIH sent

 2   an e-mail to Person 6, instructing that the package should be sent to

 3   defendant ISHIANG, in Canada, and further, "indicate this is a glass

 4   sample for testing and evaluation purpose in the description box and

 5   declare a value of $50."      Defendant SHIN instructed further, "get a

 6   box and some packaging materials in preparation for a second sample."

 7         Overt Act #64:     On or about April 14, 2015, defendant ISHIANG

 8   sent an e-mail to defendant SHIH advising that the sample for tests

 9   had been received.

10         Overt Act #65:     On or about April 17, 2015, defendant MAI sent

11   an e-mail to defendant SHIH asking whether JYS TECH would be sending

12   the last payment to MICROEX soon for the U.S. Company B wafers, and

13   attaching a MICROEX invoice to JYS TECH for $14,550.

14         Overt Act #66:     On or about October 19, 2015, defendant SHIH

15   caused to be issued a check, written on a PULLMAN LANE bank account,

16   in the amount of $14,550, made payable to MICROEX.

17         Overt Act #67:     On or about January 6, 2016, defendant SHIH sent

18   p an e-mail to the Vice-President of CGTC requesting compensation owed

19   to him by CGTC.

20         Overt Act #68:    On or about January 8, 2016, defendant SHIN sent

21   an e-mail to the Vice-President of CGTC, advising that defendant SHIH

22   "accept[ed] the amount for the portion paid directly by GaStone" and

23   asking "Please make the payment at your earliest convenience."

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 1                                       COUNT TWO

 2                  [50 U.S.C. ~ 1705(a) , (c); 18 U.S.C. ~ 2(b);

 3                            15 C.F.R. §~ 742.4, 764.2]

 4         On or about December 30, 2013, to January 2, 2014, in Los

 5   Angeles County, within the Central District of California, and

 6   elsewhere, defendant YI-CHI SHIH, aka "Yichi Shih," aka "Yugi Shi,"

 7   knowingly and willfully attempted to export and caused to be exported

 8   from the United States to the People's Republic of China ("PRC"),

 9   items under the jurisdiction of the United States Department of

10   Commerce, namely, Monolithic Microwave Integrated Circuit ("MMIC")

11   Amplifiers, without first having obtained the required license from

12   the United States Department of Commerce.

13         During the above-specified time period, the MMIC Amplifiers were

14   controlled for national security reasons, and a license from the

15   Department of Commerce was required under the EAR for the export or

16   reexport of these items to the PRC.

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 1                              COUNTS THREE THROUGH SIX

 2                                 [18 U.S.C. ~ 1341]

 3   ~ A.   THE FRAUDULENT SCHEME

 4          1.   Beginning on an unknown date but no later than February 15,

 5    2013, and continuing through on or about an unknown date but no

 6    earlier than October 30, 2015, in Los Angeles County, within the

 7    Central District of California and elsewhere, defendants YI-CHI SHIH,

 8    also known as ("aka") "Yichi Shih," aka "Yugi Shi" ("defendant

 9   SHIN"), and KIET ANH MAI ("defendant MAI"), together with others

10    known and unknown to the Grand Jury, knowingly and with intent to

11    defraud, devised, participated in, and executed a scheme to defraud

12   U.S. Company B as to material matters, and to obtain money and

13   property from U.S. Company B by means of material false and

14   fraudulent pretenses, representations, and promises, and the

15   concealment of material facts.

16   B.     MEANS TO ACCOMPLISH THE FRAUDULENT SCHEME

17          2.   The fraudulent scheme was carried out, in substance, as

18 ( follows:

19               a.   Defendant SHIH would seek U.S. Company B's MMIC design

20   technology to aid in CGTC's establishment of a foundry in China where

21   MMICs would be designed and manufactured.

22               b.   With defendant SHIH's knowledge and agreement,

23   defendant MAI would contact U.S. Company B and knowingly represent

24   falsely that defendant MAI's company, MICROEX, was interested in

25   purchasing U.S. Company B's MMIC design service, and that the

26   resulting MMICs would remain in the United States and not be

27   exported.

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 1               c.    With defendant SHIH's knowledge and agreement,

 2   defendant MAI would also knowingly falsely agree in writing to comply

 3   with all of U.S. Company B's contractual requirements for the

 4   protection of its proprietary technology in order to gain access to

 5   U.S. Company B's design portal.

 6               d.    With defendant SHIH's knowledge and agreement,

 7   defendant MAI would, contrary to his written contract with U.S.

 8   Company B, knowingly provide to defendant SHIH the user name and

 9   password that U.S. Company B provided to defendant MAI alone pursuant

10   to the written contract.

11               e.    With defendant MAI's knowledge and agreement,

12   defendant SHIH would, without authorization, knowingly access the

13   design portal in U.S. Company B's computer, using the user name and

14   password provided to him by defendant MAI.

15               f.   With defendant MAI's knowledge and agreement,

16   defendant SHIH would complete the design for the MMICs by knowingly

17   accessing without authorization the design portal, and U.S. Company B

18   would manufacture the MMICs as designed by defendant SHIH.

19               g.   With defendant SHIH's knowledge and agreement,

20   defendant MAI would knowingly cause U.S. Company B to ship the

21   manufactured MMICs to defendant MAI, and defendant MAI would then

22   knowingly provide the MMICs to defendant SHIH.

23               h.   Defendant SHIH would knowingly cause at least one of

24   the MMICs to be shipped to Hong Kong, knowing it would be transported

25   from there to China, and at least one of the MMICs to be shipped to

26   Canada, and defendant SHIH would knowingly cause false statements

27   about the description and value of the MMICs to be made on the airway

28   bills for these shipments.

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 1               i.    Defendant MAI, through MICROEX, would knowingly pay

 2   U.S. Company B for the design service and the MMICs, and defendant

 3   SHIH would knowingly cause PULLMAN LANE and JYS TECH to repay

 4   defendant MAI for the cost of the design service and the MMICs, plus

 5   additional money to compensate defendant MAI for his role in the

 6   transactions.

 7         3.    At the time defendants SHIH and MAI knowingly made and

 8   caused the above-described material false and fraudulent pretenses,

 9   representations, and promises, and concealed and omitted and caused

10   to be concealed and omitted material facts as set forth above,

11   defendants SHIH and MAI knew that the material pretences,

12   representations, and promises were false, that material information

13   was concealed and omitted, and that their acts and omissions were

14   fraudulent and deceptive.

15         4.    The above-described false and fraudulent pretenses,

16   representations, and promises, and concealment and omissions made by

17   and caused by defendants SHIH and MAI were material because if U.S.

18   Company B had known that defendant MAI intended to provide defendant

19   SHIH access to its MMIC design portal in its computer, and that the

20   resulting MMICs would not remain in the United States, it would not

21   have done one or more of the following: allowed defendant MAI to

22   access its design portal; provided defendant MAI its design services;

23   or allowed defendant MAI to purchase the resulting MMICs.

24   D.    RESULTS OF THE FRAUDULENT SCHEME

25         5.   As a result of the fraudulent scheme, CGTC was able to

26   obtain access to U.S. Company B's proprietary technology to use in

27   establishing a MMIC foundry in China, which caused U.S. Company B to

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 1   lose future profits and a commercial advantage over foreign-based

 2   competitors.

 3   E.      THE USE OF THE MAIL TO EXECUTE THE FRAUDULENT SCHEME

 4           6.   On or about the dates set forth below, defendants SHIN and

 5   MAI, together with others known and unknown to the Grand Jury, for

 6   the purpose of executing and attempting to execute the above

 7   described scheme to defraud, caused to be deposited the following

 8   items to be sent and delivered by a commercial interstate carrier

 9   according to the directions thereon:

10   COUNT        DATE            DESCRIPTION

11   THREE        12/26/13        4 MMICs from U.S. Company B to Torrance,
                                  California via FedEx
12

13   FOUR         1/2/14          At least 1 MMIC from California to Hong Kong
                                  via DHL Express
14
     FIVE         3/20/15         4 MMICs from U.S. Company B to Torrance,
15                                California via FedEx

16
     SIX          4/6/15          At least 1 MMIC from California to Canada
l~                                via UPS

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     Case 2:18-cr-00050-JAK Document 50 Filed 02/01/18 Page 27 of 40 Page ID #:360




 1                            COUNTS SEVEN THROUGH EIGHT

 2                             [18 U.S.C. ~~ 1343, 2(b)]

 3           The Grand Jury incorporates by reference and re-alleges the

 4   allegations in Counts Three through Six, Sections A through D, into

 5   Counts Seven through Eight as though fully alleged therein.

 6   THE USE OF INTERSTATE WIRES

 7           On or about the dates set forth below, defendants YI-CHI SHIH,

 8   also known as ("aka") "Yichi Shih," aka "Yugi Shi" ("defendant

 9   SHIH"), and KIET ANH MAI ("defendant MAI"), together with others

10   known and unknown to the Grand Jury, for the purpose of executing and

11   attempting to execute the above described scheme to defraud, caused

12   to be transmitted by means of wire communication in interstate

13   commerce the signals and sounds described below for each count:

14   COUNT       DATE             DESCRIPTION

15   SEVEN       12/24/13         a wire transfer of $70,000, from a Morgan
                                  Stanley account number ending in -053 to a
16
                                  U.S. Company B bank account
17
     EIGHT       12/17/14         a wire transfer of $117,000, from a Morgan
18                                Stanley account number ending in -361 to a
                                  U.S. Company B bank account
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 1                                      COUNT NINE

 2        [ls u.s.c. ~ 3~1; is u.s.c. ~ 1030(a)(2)(c), (c)(2)(B)(i) - (iii)
 3   A.     THE OBJECT OF THE CONSPIRACY

 4          1.   Beginning on an unknown date but no later than February 15,

 5   2013, and continuing through on or about an unknown date but no

 6   earlier than October 19, 2015, in Los Angeles County, within the

 7   Central District of California and elsewhere, defendants YI-CHI SHIH,

 8   also known as ("aka") "Yichi Shih," aka "Yugi Shi" ("defendant

 9   SHIH"), and KIET ANH MAI ("defendant MAI"), together with others

10   known and unknown to the Grand Jury, knowingly combined, conspired,

11   and agreed to intentionally access without authorization a protected

12   computer as that term is defined in Title 18, United States Code,

13   Section 1030(e)(2)(B), and thereby obtain information (1) for

14   purposes of commercial advantage and private financial gain, (2) in

15   furtherance of a criminal act in violation of United States laws,

16   namely, violations of the International Emergency Economic Powers

17   Act, mail fraud, and wire fraud, and (3) the value of which

18   information exceeded $5,000, all in violation of Title 18, United

19   States Code, Section 1030(a)(2)(C) and (c)(2)(B)(i) - (iii) .

20   B.     THE MANNER AND MEANS OF THE CONSPIRACY

21          2.   The object of the conspiracy was carried out, and to be

22   carried out, in substance, as follows:

23               a.   Defendant MAI would, by misrepresentations and

24   concealment of material facts, obtain from U.S. Company B

25   confidential information, including a unique user identification and

26   password, that enabled defendant MAI to access a computer owned by

27   U.S. Company B that contained U.S. Company B's proprietary

28   information.

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 1               b.     Defendant MAI would provide this unique user

 2   identification and password to defendant SHIH to enable defendant

 3   SHIH to access a computer owned by U.S. Company B that contained U.S.

 4   Company B's information without U.S. Company B's knowledge or

 5   authorization.

 6               c.   Defendant SHIH would, without authorization, access a

 7   computer owned by U.S. Company B and obtain U.S. Company B's

 8   information.

 9   C.    OVERT ACTS

10         3.    In furtherance of the conspiracy, and to accomplish its

11   object, defendants SHIH and MAI, together with others known and

12   unknown to the Grand Jury, committed the following overt acts, among

13   ' others, in the Central District of California and elsewhere:

14         Overt Act #l:     On or about February 15, 2013, defendant MAI,

15   using a MICROEX e-mail address, sent an e-mail to U.S. Company B,

16   with the subject "Foundry service," stating "I'm interested in the

17   Full -Wafer Service for GaN, 0.25um process.         Please send documents

18   to: Kiet Mai, President, MicroEx Engineering."

19         Overt Act #2:    On or about February 15, 2013, defendant MAI,

20   sent an e-mail to defendant SHIH, stating "Please answer the attached

21   for me, I don't want to make any mistakes."          Attached to the e-mail

22   was a "[U.S. Company B] Export Compliance Questionnaire" that

23   defendant MAI had received from U.S. Company B in response to the e-

24   mail described in Overt Act #l.

25         Overt Act #3:    On or about February 15, 2013, defendant SHIH

26   sent an e-mail to defendant MAI, attaching the completed U.S. Company

27   B Export Compliance Questionnaire.          The space provided for a "no"

28   response was checked in response to questions as to whether the

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 1   product would be subject to "U.S. export control regulations,

 2   specifically EAR and ITAR."

 3         Overt Act #4:    On or abour February 18, 2013, defendant MAI

 4   signed U.S. Company B's Process Design Kit ("PDK") on behalf of

 5   MICROEX as the customer.      The PDK covered, among other things, the

 6   license and restrictions on use, export and import requirements, and

 7   written assurances, that included, among other conditions, that

 8   "Customer's rights may not be transferred, leased, assigned, or

 9   sublicensed to any other party.        Customer may not allow any other

10   party to use the Licensed Program."

11         Overt Act #5:    On or about February 18, 2013, defendant MAI,

12   using a MICROEX e-mail address, e-mailed U.S. Company B and returned

13   the completed U.S Company B Export Questionnaire and the signed PDK.

14         Overt Act #6:    On or about February 18, 2013, defendant MAI,

15   using a MICROEX e-mail address, sent an e-mail to U.S. Company B

16   answering "yes," in response to the question, "Will your company be

17   doing the design, testing and use of the MMIC's?"

18         Overt Act #7:    On or about March 19, 2013, defendant MAI, sent

19   an e-mail to defendant SHIH advising him that defendant MAI would

20   forward to defendant SHIN the information he had received from U.S.

21   Company B and stating further, "The only issues would be end user and

22   itar and you already are aware of those."

23         Overt Act #7:    On or about March 19, 2013, defendant MAI sent an

24   e-mail to SHIH, stating "Here's design access," that provided to

25   defendant SHIH the Internet address for the design portal on U.S.

26   Company B's computer, as well as the user name and password necessary

27   to access that design portal.

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 1         Overt Act #8:    Between March 19, 2013 and March 18, 2015,

 2   defendant SHIH accessed, without authorization, U.S. Company's B's

 3   protected computer.

 4         Overt Act #9:    On or about August 29, 2013, defendant MAI sent

 5   an e-mail to defendant SHIH informing SHIH that U.S. Company B wanted

 6   to know when they would place a purchase order, and that defendant

 7   MAI told U.S. Company B, "we're finalizing the layout and [would] get

 8   back to them early next week."

 9         Overt Act #10:     On or about August 29, 2013, defendant SHIH sent

10   an e-mail to defendant MAI responding to the e-mail in Overt Act #8,

11   writing, "Good answer!      We do plan to release the PO [purchase order]

12   next week."

13         Overt Act #11:     On or about September 4, 2013, defendant MAI e-

14   mailed U.S. Company B, attaching a purchase order from MICROEX that

15   listed payment milestones totaling $130,000 for "Delivery of 4 good

16   wafers [MMICs] ."

17         Overt Act #12:    On or about September 6, 2013, defendant MAI

18   caused a MICROEX invoice to be issued that billed PULLMAN LANE for

19   milestone payment 1 -- $28,750 -- for the "NPN, Wideband, High Power

20   GaN MMIC Design, Analysis, Layout & Test Support" provided by U.S.

21   Company B.

22         Overt Act #13:    On or about September 10, 2013, defendant SHIH

23   caused a check to be issued, written on a PULLNi~N LANE bank account,

24   in the amount of $28,750, made payable to MICROEX.

25         Overt Act #14:    On or about September 11, 2013, defendant MAI

26   caused a check to be issued, written on a MICROEX bank account, in

27   the amount of $25,000, made payable to U.S. Company B.

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 1         Overt Act #15:     On or about November 22, 2013, defendant MAI

 2   caused a MICROEX invoice to be issued that billed PULLMAN LANE for a

 3   milestone payment -- $40,250 -- for the "NPN, Wideband, High Power

 4   GaN MMIC Design, Analysis, Layout & Test Support" provided by U.S.

 5   Company B.

 6         Overt Act #16:     On or about November 22, 2013, defendant SHIH

 7   caused a check to be issued, written on a PULLMAN LANE bank account,

 8   in the amount of $41,228, made payable to MICROEX.

 9         Overt Act #17:    On or about December 2, 2013, defendant MAI

10   caused a check to be issued, written on a MICROEX bank account, in

11   the amount of $35,000, made payable to U.S. Company B.

12         Overt Act #18:    On or about December 6, 2013, defendant MAI

13   caused a MICROEX invoice to be issued that billed PULLMAN LANE for

14   milestone payment 3 -- $69,000 -- for the "NPN, Wideband, High Power

15   GaN MMIC Design, Analysis, Layout & Test Support" provided by U.S.

16   Company B.

17         Overt Act #19:    On or about December 11, 2013, defendant SHIH

18   caused a check to be issued, written on a PULLMAN LANE bank account,

19   in the amount of $69,000, made payable to MICROEX.

20         Overt Act #20:    On or about December 16, 2013, defendant MAI

21   sent an e-mail to defendant SHIH informing defendant SHIH that U.S.

22   Company B wanted the last invoice paid before shipping the MMICs, and

23   that defendant MAI would send defendant SHIH the final invoice as

24   soon as defendant MAI received U.S. Company B's invoice.

25         Overt Act #21:    On or about December 17, 2013, defendant MAI

26   caused a MICROEX invoice to be issued that billed PULLMAN LANE for

27   milestone payment 4 -- $11,500 -- for the "NPN, Wideband, High Power

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 1 ~GaN MMIC Design, Analysis, Layout & Test Support" provided by U.S.

 2   Company B.

 3         Overt Act #22:     On or about December 18, 2013, defendant MAI

 4   sent an e-mail to defendant SHIH informing defendant SHIH, "I

 5   remitted payment for the final invoice today, [U.S. Company B] should

 6   receive it this week.      I'll check with them by the end of this week

 7   for the expected delivery of the wafers."

 8         Overt Act #23:     On or about December 24, 2013, defendant MAI

 9   caused $70,000 to be wire-transferred to U.S. Company B.

10         Overt Act #24:     On or about December 27, 2013, defendant MAI

11   sent an e-mail to defendant SHIH, writing "I have the wafers."

12         Overt Act #25:     On or about December 27, 2013, defendant SHIH

13   sent an e-mail to defendant MAI responding to the e-mail described

14   above in Overt Act #24, writing, "Super.         I'm out of town.     I'll pick

15   it up this weekend.     Thanks."

16         Overt Act #26:    On or about January 3, 2014, defendant SHIH

17   caused a check to be issued, written on a PULLMAN LANE bank account,

18   in the amount of $11,500, made payable to MICROEX.

19         Overt Act #27:    On or about March 19, 2014, defendant SHIH sent

20   an e-mail to defendant MAI, writing, "[T]he GaN MMIC's are still

21   under evaluation.     Some of them have good performance.         We are

22   looking [sic] potential customers for the Ku-band chips for satcom

23   applications.    Please ask [U.S. Company B] about the pricing for

24   production wafers of the order of 30 to 60 wafers."

25         Overt Act #28:    On or about March 20, 2014, defendant MAI sent

26   an e-mail to defendant SHIH, writing, "In regard to [U.S. Company B],

27   have you checked the ITAR on these parts due to high power?"

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 1         Overt Act #29:     On or about June 16, 2014, defendant MAI, using

 2   a MICROEX e-mail address, sent an e-mail to U.S. Company B, writing,

 3   "We'd like to have another wafer run                 Please quote with new

 4   payment terms for a run same as last run."

 5         Overt Act #30:     On or about December 1, 2014, defendant MAI,

 6   using a MICROEX e-mail address, sent to U.S. Company B a purchase

 7   order from MICROEX, for a payment schedule by milestones of $130,000

 8   total.

 9         Overt Act #31:    On or about December 1, 2014, defendant MAI,

10   using a MICROEX e-mail address, answered an e-mail from U.S. Company

11   B, asking "Will you be exporting any of the devices or wafers?"             The

12   answer provided by defendant MAI was "No not for export, we're doing

13   development."

14         Overt Act #32:    On or about December 1, 2014, defendant MAI,

15   using a MICROEX e-mail address, sent an e-mail to U.S. Company B,

16   advising that MICROEX would go with the full payment option, and

17   attaching a revised purchase order from MICROEX, for a full payment

18   of $117,000.

19         Overt Act #33:    On or about December 1, 2014, defendant MAI,

20   caused a MICROEX invoice to be issued that billed JYS TECH for

21   milestone payment 1 -- $120,000 -- for the "NPN, Wideband, High Power

22   GaN MMIC Design, Analysis, Layout & Test Support" provided by U.S.

23   Company B.

24         Overt Act #34:    On or about December 10, 2014, defendant MAI,

25   using a MICROEX e-mail address, answered an e-mail from U.S. Company

26   B, asking "Are any of the design[s] you are putting on this next mask

27   subject to US ITAR export regulations?"         The answer provided by

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 1   defendant MAI was "These are for research study and should not [sic]

 2   subject to ITAR."

 3         Overt Act #35:     On or about December 17, 2014, defendant MAI

 4   caused $117,000 to be wire-transferred to U.S. Company B.

 5         Overt Act #36:     On or about March 18, 2015, defendant SHIH sent

 6   an e-mail to defendant MAI, telling him to call Person 6 to pick up

 7   the package for defendant SHIH when it arrived.

 8         Overt Act #37:     On or about March 23, 2015, defendant MAI, sent

 9   an e-mail to defendant SHIH, writing "I left [Person 6] voice and

10   text messages for picking up the wafers, which arrived today."

11         Overt Act #38:    On or about March 23, 2015, defendant MAI,

12   . caused a MICROEX invoice to be issued that billed JYS TECH for the

13   final payment -- $14,550 -- for the "NPN, Wideband, High Power GaN

14   MMIC Design, Analysis, Layout & Test Support" provided by U.S.

15   Company B.

16         Overt Act #39:    On or about March 25, 2015, defendant MAI, sent

17   an e-mail to defendant SHIN, writing, "[Person 6] picked-up the

18   wafers today, wafers' data/packing slip attached."           Attached to the

19   e-mail was a U.S. Company B packing slip that listed 4 diced wafers:

20   BU1823-11, HG0752-36, JE0628-20 and JH0727-45, valued at $9,000.

21         Overt Act #40:    On or about April 17, 2015, defendant MAI, sent

22   an e-mail to defendant SHIH asking whether JYS TECH would be sending

23   the last payment to MICROEX soon for the U.S. Company B wafers, and

24   attaching a MICROEX invoice to JYS TECH for $14,550.

25         Overt Act #41:    On or about October 19, 2015, defendant SHIH

26   caused to be issued a check, written on a PULLMAN LANE bank account,

27   in the amount of $14,550, made payable to MICROEX.

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 1                                       COUNT TEN

 2                        [18 U.S.C. ~~ 1956(a)(2)(A), 2(a)]

 3         On or about December 12, 2014, in Los Angeles County, within the

 4   Central District of California, and elsewhere, defendants YI-CHI

 5
     SHIH, also known as ("aka") "Yichi Shih," aka "Yugi Shi" and KIET ANH
 6
     MAI knowingly aided, abetted, counseled, commanded, induced, and
 7
     procured another person to transport, transmit, and transfer a
 8
     monetary instrument and funds, that is, USD $120,000, to a place in
 9

10   the United States, within the Central District of California,

11   specifically, a MICROEX bank account, from or through a place outside

12   the United States, specifically, a JYS TECH bank account in Canada,             '~

13
     with the intent to promote the carrying on of specified unlawful
14
     l activity, specifically, violations of Title 18, United States Code,
15
     Sections 1030 (fraud and related activity in connection with
16
     computers), 1341 (mail fraud), and 1343 (wire fraud), and Title 50,
17
     United States Code, Section 1705 (violations of the International
18

19   Emergency Economic Powers Act).

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 1                             FORFEITURE ALLEGATION ONE

 2                   [18 U.S.C. § 981(a)(1)(C); 28 U.S.C. ~ 2461]

 3         1.     Pursuant to Rule 32.2(a), of the Federal Rules of Criminal

 4   Procedure, notice is hereby given to defendants YI-CHI SHIN, also

 5   known as ("aka") "Yichi Shih," aka "Yugi Shi," ISHIANG SHIN, aka "I-

 6   I Shiang Shih," and KIET ANH MAI (collectively, "defendants") that the

 7   United States will seek forfeiture as part of any sentence in

 8   accordance with COUNTS ONE through SIX, and NINE of this Indictment.

 9   Each defendant so convicted shall forfeit to the United States:

10              a. all property, real or personal, which constitutes or is

11                derived from proceeds traceable to the underlying

12                violation; and

13              b. to the extent such property is not available for

14                forfeiture, a sum of money equal to the total value of such

15                property.

16         2.     Pursuant to Title 21, United States Code, Section 853(p),

17   defendants shall forfeit substitute property, if, by any act or

18   omission of defendants, the property described in COUNTS ONE through

19   SIX, and NINE, or any portion thereof, cannot be located upon the

20   exercise of due diligence; has been transferred, sold to, or

21   deposited with a third party; has been placed beyond the jurisdiction

22   of the court; has been substantially diminished in value; or has been

23   commingled with other property that cannot be divided without

24   difficulty.

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 1                             FORFEITURE ALLEGATION TWO

 2                              [18 U.S.C. § 982(a)(2)]

 3         1.    Pursuant Rule 32.2(a), Fed. R. Crim. P., notice is hereby

 4   given to defendants YI-CHI SHIH, also known as ("aka") "Yichi Shih,"

 5   aka "Yugi Shi," and KIET ANH MAI (collectively, "defendants"), that

 6   the United States will seek forfeiture as part of any sentence in

 7   accordance with Title 18, United States Code, Section 982(a)(2), in

 8   the event of any defendant's conviction under COUNTS SEVEN and EIGHT

 9   of this Indictment.

10         2.    Each defendant so convicted shall forfeit to the United

11   States the following property:

12               a.    Any property constituting, or derived from, proceeds

13   obtained, directly or indirectly, as the result of such violation.

14               b.   To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of such

16   property.

17         3.    Pursuant to Title 21, United States Code, Section 853(p),

18   and Title 18, United States Code, Section 982(b)(1), any defendant so

19   convicted shall forfeit substitute property, up to the total value of

20   the property described in the preceding paragraph, if, as a result of

21   any act or omission of said defendant, the property described in the

22   preceding paragraph, or any portion thereof, (a) cannot be

23   located upon the exercise of due diligence; (b) has been transferred,

24   sold to, or deposited with a third party; (c) has been placed beyond

25   the jurisdiction of the court; (d) has been substantially diminished

26   in value; or (e) has been commingled with other property that cannot

27   be divided without difficulty.

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 1                            FORFEITURE ALLEGATION THREE

 2                              [18 U.S.C. ~ 982(a)(1)]

 3         1.    Pursuant to Rule 32.2(a), of the Federal Rules of Criminal

 4   Procedure, notice is hereby given to defendants YI-CHI SHIH, also

 5   known as ("aka") "Yichi Shih," aka "Yugi Shi," and KIET ANH MAI

 6   (collectively, "defendants") that the United States will seek

 7   forfeiture as part of any sentence in accordance with Title 18,

 8   United States Code, Section 982(a)(1), in the event of any

 9   defendant's convictions under COUNT TEN this Indictment.

10         2.    Each defendant so convicted shall forfeit to the United

11   States the following property:

12               (a)   all right, title, and interest in any and all

13   property, real or personal, involved in or traceable to any

14   transaction set forth in COUNT TEN of this Indictment; and

15               (b)   th the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of such property.

17         3.    Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 18, United States Code, Section 982(b), each

19   defendant shall forfeit substitute property, up to the value of the

20   total amount described in paragraph 2, if, as the result of any act

21   or omission of a defendant, the property described in paragraph 2, or

22   any portion thereof (a) cannot be located upon the exercise of due

23   diligence; (b) has been transferred, sold to, or deposited with a

24   third party; (c) has been placed beyond the jurisdiction of the

25   //

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 1   court; (d) has been substantially diminished in value; or (e) has

 2   been commingled with other property which cannot be divided without

 3   difficulty.

 4                                             A TRUE BILL

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 6                                                               S
                                               Foreperson
 7

 8    NICOLA T. HANNA
      United States Attorney
 9

10
      ~~
11    PATRICK R. FITZGERALD
      Assistant United States Attorney
12    Chief, National Security Division

13    CHRISTOPHER GRIGG
      Assistant United States Attorney
14    Chief, Terrorism and Export
        Crimes Section
15
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18    MELANIE SARTORIS
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20
      KHALDOUN SHOBAKI
21    Assistant United States Attorney
      Cyber and Intellectual Property
22      Crimes Section

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